 Case19-32841-hdh11
Case  19-32841-hdh11Doc
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                                    01/31/20 Entered
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                                                                         Page11ofof13
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  Gerrit M. Pronske
  Texas Bar No. 16351640
  Brandon J. Tittle
  Texas Bar No. 24090436
  PRONSKE & KATHMAN, P.C.
  2701 Dallas Parkway, Suite 590
  Plano, Texas 75093
  Telephone: 214.658.6500
  Facsimile: 214.658.6509
  Email: gpronske@pronskepc.com
  Email: btittle@pronskepc.com

  COUNSEL FOR DEBTORS
  AND DEBTORS-IN-POSSESSION

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  In re:                                                       §
                                                               §      Case No. 19-32841-hdh
  DOUGHERTY’S HOLDINGS, INC., et al.,1                         §
                                                               §      Chapter 11
           Debtors.                                            §      Jointly Administered

                SUPPLEMENT TO THE STATEMENT OF FINANCIAL AFFAIRS

       TO THE HONORABLE HARLIN D. HALE,
  UNITED STATES BANKRUPTCY JUDGE:

           Dougherty’s Holdings, Inc., (“Holdings”) and its affiliates, the debtors and debtors in

  possession in the above-captioned cases (collectively, the “Debtors”), hereby file their Supplement

  to the Statement of Financial Affairs, and would respectfully show the Court as follows:

           1.       The Debtors have attached as Exhibit A their proper response to question number

  3 in the Statement of Financial Affairs.




  1
   The Debtors in these Chapter 11 cases, together with the last four digits of each Debtors’ federal tax identifications
  number, are as follows: Dougherty’s Holdings, Inc. (4393), Dougherty’s Pharmacy, Inc. [Texas] (3187), Dougherty’s
  Pharmacy Forest Park, LLC (6490); Dougherty’s Pharmacy McAlester, LLC (1758); Dougherty’s Pharmacy, Inc
  [Delaware] (0905). The mailing address for the Debtors, solely for purposes of notices and communications, is: 5924
  Royal Lane, Suite 250, Dallas, Texas 75230, with copies to Pronske & Kathman, P.C., c/o Brandon J. Tittle, 2701
  Dallas Parkway, Suite 590, Plano, Texas 75093.



  MOTION TO REDACT—PAGE 1 OF 3
 Case19-32841-hdh11
Case  19-32841-hdh11Doc
                     Doc151-1
                         155 Filed
                              Filed02/05/20
                                    01/31/20 Entered
                                              Entered02/05/20
                                                      01/31/2013:20:51
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                                                                         Page22ofof13
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         2.      The Debtors have attached as Exhibit B their proper response to question number

  4 in the Statement of Financial Affairs.

    Dated: January 31, 2020.                      Respectfully submitted,

                                                  /s/ Brandon J. Tittle
                                                  Gerrit M. Pronske
                                                  Texas Bar No. 16351640
                                                  Brandon J. Tittle
                                                  Texas Bar No. 24090436
                                                  PRONSKE & KATHMAN, P.C.
                                                  2701 Dallas Parkway, Suite 590
                                                  Plano, Texas 75093
                                                  Telephone: 214.658.6500
                                                  Facsimile: 214.658.6509
                                                  Email: gpronske@pronskepc.com
                                                  Email: btittle@pronskepc.com

                                                  COUNSEL FOR DEBTORS AND
                                                  DEBTORS-IN-POSSESSION




  MOTION TO REDACT—PAGE 2 OF 3
 Case19-32841-hdh11
Case  19-32841-hdh11Doc
                     Doc151-1
                         155 Filed
                              Filed02/05/20
                                    01/31/20 Entered
                                              Entered02/05/20
                                                      01/31/2013:20:51
                                                               14:50:09 Page
                                                                         Page33ofof13
                                                                                    13



                                  CERTIFICATE OF SERVICE

          I, the undersigned, hereby certify that, on January 31, 2020, I caused to be served the
  foregoing pleading upon the parties on the Master Service List attached hereto via electronic and/or
  United States mail, first class delivery, and also via ECF email upon all parties accepting such
  service.

                                                       /s/ Brandon J. Tittle
                                                       Brandon J. Tittle




  MOTION TO REDACT—PAGE 3 OF 3
 Case19-32841-hdh11
Case  19-32841-hdh11Doc
                     Doc151-1
                         155 Filed
                              Filed02/05/20
                                    01/31/20 Entered
                                              Entered02/05/20
                                                      01/31/2013:20:51
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                                                                         Page44ofof13
                                                                                    13




                                EXHIBIT A

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             Case19-32841-hdh11
            Case  19-32841-hdh11Doc
                                 Doc151-1
                                     155 Filed
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                                                01/31/20 Entered
                                                          Entered02/05/20
                                                                  01/31/2013:20:51
                                                                           14:50:09 Page
                                                                                     Page55ofof13
                                                                                                13


Payment              Payment/               Srce.   Rec.     Rec.     Vendor/Payee   Payee                                                         Bank Payment
Number               Reversal Date          Appl.   Status   Posted   Code           Name                                                               Amount

Bank:1005 - First National Bank Southwest


Payment Type:Check
19064                05/30/19               AP      OS       No       AFC150         AFCO                                                             18,177.51

19065                05/30/19               AP      OS       No       SOF410         SOFTWRITERS, INC.                                                 7,112.13
19066                05/30/19               AP      OS       No       TRA230         TRAVELERS                                                         2,974.53
19067                05/31/19               AP      OS       No       SPI100         STANDARD PROCESS INC                                                719.00
19068                05/31/19               AP      CO       No       MED440         MEDISCA, INC.                                                          0.00
19069                05/31/19               AP      OS       No       MED440         MEDISCA, INC.                                                     8,248.70
19070                05/31/19               AP      OS       No       PRU150         PRUDENTIAL OVERALL SUPPLY                                         1,997.99
19071                05/31/19               AP      OS       No       GIM100         MOISES GIMENEZ                                                    5,000.00
19072                05/31/19               AP      OS       No       VES400         VES INTERNATIONAL TEXAS, INC                                      2,429.01
19073                05/31/19               AP      OS       No       SIG350         SIGVARIS, INC.                                                    2,210.03
19074                05/31/19               AP      OS       No       JAG225         DROPOFF dba JAGUAR COURIER SERVICE, INC.                          3,863.56
19075                05/31/19               AP      OS       No       PAT250         SHUMIT PATEL                                                      4,583.69
19076                05/31/19               AP      OS       No       EDI100         STEWART EDINGTON                                                  6,043.20
19077                05/31/19               AP      OS       No       AME825         AMERINAT                                                         19,554.55
19078                06/03/19               AP      OS       No       595100         5952 ROYAL LIMITED PARTNERSHIP                                    6,454.42
19079                06/03/19               AP      OS       No       FED300         FEDERAL HEATH SIGN CO LLC                                           402.31
19080                06/03/19               AP      OS       No       MCE075         MCDEW HOLDINGS, LLC                                               6,200.00
19081                06/03/19               AP      OS       No       PUB300         PUBLIC INDUSTRIAL/PROPERTY CO, INC.                               1,253.00
19082                06/03/19               AP      OS       No       RPT180         RP TEXAS MGMT, LLC                                                6,767.77
19083                06/03/19               AP      RV       Yes      AMR175         AMREIT PRESTON ROYAL, LP FOR PRESTON ROYAL-WEST DEPT. #2611      53,250.57
19083                07/31/19               AP      RV       Yes      AMR175         AMREIT PRESTON ROYAL, LP FOR PRESTON ROYAL-WEST DEPT. #2611      -53,250.57
19084                06/03/19               AP      OS       No       GIM100         MOISES GIMENEZ                                                    8,000.00
19085                06/03/19               AP      OS       No       COL600         COLUMBIA ADVISORY GROUP                                           9,400.00
19086                06/04/19               AP      OS       No       B&B100         B&B MARKETING EXECUTION                                           2,493.66
19087                06/04/19               AP      OS       No       DOU100         DOUGHERTY'S PHARMACY, INC.                                           25.00
19088                06/04/19               AP      OS       No       DOU100         DOUGHERTY'S PHARMACY, INC.                                           25.00
19089                05/31/19               AP      OS       No       NUM100         NUMEDICA                                                            943.25
19090                06/04/19               AP      OS       No       EME250         EMERSON ECOLOGICS, LLC                                              877.19
19091                05/31/19               AP      OS       No       PAT250         SHUMIT PATEL                                                      9,307.03
19092                06/05/19               AP      OS       No       DOU103         DOUGHERTY'S SPRINGTOWN-PETTY CASH                                40,442.93
19093                06/05/19               AP      OS       No       ADT600         ADT SECURITY SERVICES                                                63.77
19094                06/05/19               AP      OS       No       SOU851A        AT&T                                                                861.61
19095                06/05/19               AP      OS       No       SOU856         AT&T MOBILITY                                                       148.77
19096                06/05/19               AP      OS       No       COM040         COMM-CORE LLC                                                       323.44
19097                06/05/19               AP      OS       No       COM483         COMPUTER RX                                                       4,704.44
19098                06/05/19               AP      OS       No       ELP190         EL PASO WATER SERVICES                                              142.74
19099                06/05/19               AP      OS       No       GRE352         GREEN MOUNTAIN ENERGY                                             2,465.19
19100                06/05/19               AP      OS       No       MCA250         MCALESTER AREA CHAMBER OF COMMERCE                                  174.50

19101                06/05/19               AP      OS       No       MIC100         MICHAELS KEYS INC                                                   186.03
19102                06/05/19               AP      OS       No       NET102         NET-RX                                                              290.00
19103                06/05/19               AP      OS       No       NIT120         NITEL, INC.                                                       1,509.17
19104                06/05/19               AP      OS       No       PUB315         PUBLIC SERVICE COMPANY OF OKLAHOMA                                  263.88
19105                06/05/19               AP      OS       No       TEX530         TEXAS MUTUAL INSURANCE COMPANY                                      797.31
19106                06/05/19               AP      OS       No       TRA230         TRAVELERS                                                         1,820.50
19107                05/31/19               AP      OS       No       DCS100         DALLAS CLEANING SERVICES                                          1,125.00
19108                06/07/19               AP      OS       No       JAG225         DROPOFF dba JAGUAR COURIER SERVICE, INC.                          3,438.76
19109                06/07/19               AP      OS       No       DEL214         DELTA DALLAS STAFFING, LP                                           538.66
19110                06/07/19               AP      OS       No       EME250         EMERSON ECOLOGICS, LLC                                              610.83
19111                06/07/19               AP      OS       No       ADT600         ADT SECURITY SERVICES                                                59.25
19112                06/07/19               AP      OS       No       GIM100         MOISES GIMENEZ                                                    6,000.00
19113                06/14/19               AP      OS       No       S&L100         S&L PHARMACY INC.                                                   322.88
19114                06/14/19               AP      OS       No       JAG225         DROPOFF dba JAGUAR COURIER SERVICE, INC.                          2,857.26
19115                06/14/19               AP      OS       No       DOU103         DOUGHERTY'S SPRINGTOWN-PETTY CASH                                33,947.38
19116                06/14/19               AP      OS       No       EDI100         STEWART EDINGTON                                                  3,244.43
19117                06/14/19               AP      OS       No       EDI100         STEWART EDINGTON                                                  3,170.28
19118                06/14/19               AP      OS       No       GOO356         MARTY GOODING                                                     1,695.00
19119                06/17/19               AP      OS       No       HAL185         DR. JOHN HALEY/GARLAND EYE ASSOC PA                               4,000.00
19120                06/17/19               AP      OS       No       DST100         DST PHARMACY SOLUTIONS                                               50.00
19121                06/19/19               AP      OS       No       COM483         COMPUTER RX                                                       1,747.71
19122                06/20/19               AP      OS       No       PAT250         SHUMIT PATEL                                                      8,634.83
19123                06/20/19               AP      OS       No       EDI100         STEWART EDINGTON                                                  3,331.38
19124                06/20/19               AP      OS       No       PAT250         SHUMIT PATEL                                                      9,907.26
19125                06/20/19               AP      OS       No       EDI100         STEWART EDINGTON                                                  9,771.63
19126                06/25/19               AP      OS       No       BET380         A BETTER ANSWER CALL CENTERS                                        361.77
19127                06/25/19               AP      OS       No       ADT600         ADT SECURITY SERVICES                                               303.31
19128                06/25/19               AP      OS       No       AAD100         ALL ABOUT DOORS                                                     284.16
         Case19-32841-hdh11
        Case  19-32841-hdh11Doc
                             Doc151-1
                                 155 Filed
                                      Filed02/05/20
                                            01/31/20 Entered
                                                      Entered02/05/20
                                                              01/31/2013:20:51
                                                                       14:50:09 Page
                                                                                 Page66ofof13
                                                                                            13


19129       06/25/19   AP   OS   No   TXU401   ATMOS ENERGY                                                    159.08
19130       06/25/19   AP   OS   No   CIN360   CINTAS                                                          191.60
19131       06/25/19   AP   OS   No   CIT825   CITY OF DALLAS UTILITIES & SVC                                  138.17
19132       06/25/19   AP   OS   No   CIT920   CITY OF MCALESTER                                                10.00
19133       06/25/19   AP   OS   No   COM040   COMM-CORE LLC                                                   344.92
19134       06/25/19   AP   OS   No   COM483   COMPUTER RX                                                    4,518.58
19135       06/25/19   AP   OS   No   DAL100   DALLAS POLICE DEPT ALARM PERMIT COMPLIANCE UNIT                 300.00
19136       06/25/19   AP   OS   No   DIS220   DISCOVERY BENEFITS, INC.                                        270.00
19137       06/25/19   AP   OS   No   DOB130   DOBSON TECHNOLOGIES                                             135.00

19138       06/25/19   AP   OS   No   WEB101   ERX NETWORK                                                     764.21
19139       06/25/19   AP   OS   No   HEA270   FDS, Inc.                                                       297.73
19140       06/25/19   AP   OS   No   GRE352   GREEN MOUNTAIN ENERGY                                            14.69
19141       06/25/19   AP   OS   No   HOW650   HOWELL SERVICE COMPANIES, INC.                                   70.00
19142       06/25/19   AP   OS   No   KMC130   KMCO-FM                                                         690.00
19143       06/25/19   AP   OS   No   MCA254   MCALESTER NEWS CAPITAL                                          836.00
19144       06/25/19   AP   OS   No   MIC100   MICHAELS KEYS INC                                              1,034.17
19145       06/25/19   AP   OS   No   MOO225   MOOD MEDIA                                                      117.43
19146       06/25/19   AP   OS   No   NIT120   NITEL, INC.                                                    1,509.54
19147       06/25/19   AP   OS   No   OMN180   OMNISYS, LLC                                                    820.17
19148       06/25/19   AP   OS   No   PDX100   PDX, INC.                                                       980.72
19149       06/25/19   AP   OS   No   POL125   POLLOCK                                                         391.95
19150       06/25/19   AP   OS   No   PRO652   PRO-KIL PEST CONTROL                                             75.00
19151       06/25/19   AP   OS   No   PRO800   PROTEX SERVICE,INC                                              107.71
19152       06/25/19   AP   OS   No   RXM100   RX MESSAGE ON HOLD                                              327.00
19153       06/25/19   AP   OS   No   SCR250   SCRIPTPRO USA, INC.                                            4,077.87
19154       06/25/19   AP   OS   No   SHR100   SHRED-IT USA                                                    354.16
19155       06/25/19   AP   OS   No   SOF410   SOFTWRITERS, INC.                                              2,286.81
19156       06/25/19   AP   OS   No   SAO200   STAT OVERNIGHT DELIVERY                                         339.17
19157       06/25/19   AP   OS   No   TEL101   TELEMANAGER TECHNOLOGIES, INC.                                  287.58
19158       06/25/19   AP   OS   No   TIM280   TIME WARNER CABLE                                               221.00
19159       06/25/19   AP   OS   No   TOG150   TOG                                                             662.50
19160       06/25/19   AP   OS   No   WWE100   WORLDWIDE EXPRESS                                              3,472.98
19161       06/25/19   AP   OS   No   OKL150   OKLAHOMA STATE BOARD OF PHARMACY                                180.00
19162       06/27/19   AP   OS   No   TEX530   TEXAS MUTUAL INSURANCE COMPANY                                 1,594.62
19163       06/27/19   AP   OS   No   TRA230   TRAVELERS                                                      2,974.54
19164       06/27/19   AP   OS   No   TRA230   TRAVELERS                                                      1,820.50
19165       06/27/19   AP   OS   No   AFC150   AFCO                                                          18,177.51
19166       06/27/19   AP   OS   No   XYM185   XYMOGEN                                                        2,746.64
19167       06/27/19   AP   OS   No   ASC320   ASCENDANT SOLUTIONS                                           18,684.85
19168       06/27/19   AP   OS   No   XYM185   XYMOGEN                                                        1,737.26
19169       06/28/19   AP   OS   No   APE300   APEX ENERGETICS                                                 827.36
19170       06/28/19   AP   OS   No   COO115   COOPER COMPLETE                                                 590.02
19171       06/28/19   AP   OS   No   GOO356   MARTY GOODING                                                   550.00
19172       06/28/19   AP   OS   No   GRI215   SAMUEL GRIFFITH                                                1,870.10
19173       07/01/19   AP   OS   No   AMR175   AMREIT PRESTON ROYAL, LP FOR PRESTON ROYAL-WEST DEPT. #2611   53,250.57
19174       07/01/19   AP   OS   No   595100   5952 ROYAL LIMITED PARTNERSHIP                                 6,282.38

19175       07/01/19   AP   OS   No   RPT180   RP TEXAS MGMT, LLC                                             7,270.11
19176       07/01/19   AP   OS   No   FED300   FEDERAL HEATH SIGN CO LLC                                       402.31
19177       07/01/19   AP   OS   No   PUB300   PUBLIC INDUSTRIAL/PROPERTY CO, INC.                            1,253.00
19178       07/01/19   AP   OS   No   MCE075   MCDEW HOLDINGS, LLC                                            6,200.00
19179       06/30/19   AP   OS   No   S&L100   S&L PHARMACY INC.                                              3,750.00
19180       06/30/19   AP   OS   No   PAT250   SHUMIT PATEL                                                   7,712.14
19181       06/30/19   AP   OS   No   PAT250   SHUMIT PATEL                                                   9,792.67
19182       06/30/19   AP   OS   No   OZA125   ANGELI OZA                                                     4,000.00
19183       06/30/19   AP   OS   No   DCS100   DALLAS CLEANING SERVICES                                       2,040.00
19184       06/30/19   AP   OS   No   EDI100   STEWART EDINGTON                                               5,907.93
19185       06/30/19   AP   OS   No   BEI200   BSN-JOBST, INC.                                                4,217.14
19186       06/30/19   AP   OS   No   ARL080   ARL BIO PHARMACY, INC.                                          350.00
19187       07/12/19   AP   OS   No   JAS170   JASON BAILEY                                                   5,070.79
19188       07/12/19   AP   OS   No   EDI100   STEWART EDINGTON                                               5,552.10
19189       07/12/19   AP   OS   No   PAT250   SHUMIT PATEL                                                   4,111.35
19190       07/12/19   AP   OS   No   SES280   DANNA SESLER                                                   2,701.77
19191       06/30/19   AP   OS   No   ASC320   ASCENDANT SOLUTIONS                                            5,000.00
19192       07/12/19   AP   OS   No   JAG225   DROPOFF dba JAGUAR COURIER SERVICE, INC.                       2,446.14
19193       07/12/19   AP   OS   No   MET090   METAGENICS, INC.                                               2,512.72
19194       07/12/19   AP   OS   No   TRI225   TRINITY OPERATIONS LP                                          3,236.73
19195       06/30/19   AP   OS   No   ASC320   ASCENDANT SOLUTIONS                                            5,000.00
19196       07/15/19   AP   OS   No   BET380   A BETTER ANSWER CALL CENTERS                                    171.51
19197       07/15/19   AP   OS   No   ABL100   ABLE ELECTRIC SERVICE, INC.                                     435.71
19198       07/15/19   AP   OS   No   ACE190   ACE FIRE EXTINGUISHER CO.                                       124.49
19199       07/15/19   AP   OS   No   ADP350   ADP SCREENING & SELECTION SVCS                                  683.16
19200       07/15/19   AP   OS   No   ADT600   ADT SECURITY SERVICES                                           306.33
19201       07/15/19   AP   OS   No   AIR676   AIRSCAN TECHNOLOGIES, INC.                                      210.00
          Case19-32841-hdh11
         Case  19-32841-hdh11Doc
                              Doc151-1
                                  155 Filed
                                       Filed02/05/20
                                             01/31/20 Entered
                                                       Entered02/05/20
                                                               01/31/2013:20:51
                                                                        14:50:09 Page
                                                                                  Page77ofof13
                                                                                             13


19202        07/15/19   AP   OS   No   SOU851A   AT&T                                                 684.81
19203        07/15/19   AP   OS   No   SOU856    AT&T MOBILITY                                        183.55
19204        07/15/19   AP   OS   No   BIT286    BARRACUDA NETWORKS, INC.                             319.80
19205        07/15/19   AP   OS   No   CGS100    CGS ADMINISTRATORS, LLC                               85.46
19206        07/15/19   AP   OS   No   CIT920    CITY OF MCALESTER                                    115.04
19207        07/15/19   AP   OS   No   DAL100    DALLAS POLICE DEPT ALARM PERMIT COMPLIANCE UNIT      100.00
19208        07/15/19   AP   OS   No   DOB130    DOBSON TECHNOLOGIES                                  135.00
19209        07/15/19   AP   OS   No   WEB101    ERX NETWORK                                          754.63
19210        07/15/19   AP   OS   No   HEA270    FDS, Inc.                                             22.41
19211        07/15/19   AP   OS   No   FED275    FEDERAL EXPRESS CORP                                 109.15

19212        07/15/19   AP   OS   No   FIL120    FILE THIRTEEN                                         35.00
19213        07/15/19   AP   OS   No   GRA162    GRAND TETON BOTTLING COMPANY                          43.71
19214        07/15/19   AP   OS   No   GRE352    GREEN MOUNTAIN ENERGY                               2,778.41
19215        07/15/19   AP   OS   No   HAR130    HARLEN JOHNSON HEATING AIR CONDITIONING              757.75
19216        07/15/19   AP   OS   No   HOW650    HOWELL SERVICE COMPANIES, INC.                        70.00
19217        07/15/19   AP   OS   No   ARK180    L&T HEALTH SYSTEMS                                   107.56
19218        07/15/19   AP   OS   No   KNO290    MIKE KNOWLES                                         280.00
19219        07/15/19   AP   OS   No   MOO225    MOOD MEDIA                                           117.43
19220        07/15/19   AP   OS   No   OMN180    OMNISYS, LLC                                         369.13
19221        07/15/19   AP   OS   No   PCC100    PC CONNECTION SALES CORP                             286.65
19222        07/15/19   AP   OS   No   PIT100    PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC           370.42
19223        07/15/19   AP   OS   No   PRO800    PROTEX SERVICE,INC                                   323.13
19224        07/15/19   AP   OS   No   PUB315    PUBLIC SERVICE COMPANY OF OKLAHOMA                   364.02
19225        07/15/19   AP   OS   No   QUI125    QUILL CORPORATION                                   1,471.03
19226        07/15/19   AP   OS   No   RXM100    RX MESSAGE ON HOLD                                   327.00
19227        07/15/19   AP   OS   No   SCR250    SCRIPTPRO USA, INC.                                 4,909.65
19228        07/15/19   AP   OS   No   SHR100    SHRED-IT USA                                         668.96
19229        07/15/19   AP   OS   No   SOF410    SOFTWRITERS, INC.                                   2,198.16
19230        07/15/19   AP   OS   No   TEL101    TELEMANAGER TECHNOLOGIES, INC.                       207.00
19231        07/15/19   AP   OS   No   TIM280    TIME WARNER CABLE                                    252.51
19232        07/15/19   AP   OS   No   TOG150    TOG                                                  662.50
19233        07/15/19   AP   OS   No   VER300    VERITY GROUP                                        3,783.14
19234        07/15/19   AP   OS   No   WWE100    WORLDWIDE EXPRESS                                   1,478.01
19235        06/30/19   AP   OS   No   ASC320    ASCENDANT SOLUTIONS                                 4,500.00
19236        07/16/19   AP   OS   No   BEI200    BSN-JOBST, INC.                                     3,882.41
19237        07/16/19   AP   OS   No   KEY225    KEYSOURCE ACQUISITIONS, LLC                         3,835.15
19238        07/16/19   AP   OS   No   PAT250    SHUMIT PATEL                                       10,641.93
19239        07/18/19   AP   OS   No   COO115    COOPER COMPLETE                                      465.80
19240        07/18/19   AP   CO   No   IND349    INDEPENDENCE MEDICAL                                    0.00
19241        07/18/19   AP   OS   No   IND349    INDEPENDENCE MEDICAL                                4,872.66
19242        07/18/19   AP   OS   No   MOS275    DAWN MOSHIER                                       10,000.00
19243        07/18/19   AP   OS   No   EME250    EMERSON ECOLOGICS, LLC                               608.72
19244        07/18/19   AP   OS   No   GOO356    MARTY GOODING                                       1,814.88
19245        07/18/19   AP   OS   No   POR200    FREDERICK PORCHE                                     408.00
19246        07/19/19   AP   OS   No   JAG225    DROPOFF dba JAGUAR COURIER SERVICE, INC.            2,087.60
19247        07/19/19   AP   OS   No   SPE350    SPECTRUM PRINTING & PROMOTIONS                       814.16

ONLINE       07/01/19                            BLUE CROSS BLUE SHIELD OF TEXAS                   41,141.05
ONLINE       07/01/19                            BLUE CROSS BLUE SHIELD OF TEXAS                    2,100.44
ONLINE       07/01/19                            DEARBORN NATIONAL LIFE INSURANCE COMPANY           3,581.03
19173        07/01/19                            AMREIT PRESTON ROYAL                                   0.00
19174        07/01/19                            5952 ROYAL LIMITED PARTNERSHIP                     6,282.38
19175        07/01/19                            RP TEXAS MGMT, LLC                                 7,270.11
19176        07/01/19                            FEDERAL HEATH SIGN CO LLC                            402.31
19177        07/01/19                            PUBLIC INDUSTRIAL/PROPERTY CO, INC.                1,253.00
             07/01/19                            Open AP                                            31,500.00
ACH          07/05/19                            EXPONENT TECHNOLOGIES, INC.                         4,597.86
ACH          07/08/19                            AMERICA'S COURIER, INC.                             1,500.00
ACH          07/11/19                            EXPONENT TECHNOLOGIES, INC.                       130,267.41
19187        07/12/19                            JASON BAILEY                                        5,070.79
19188        07/12/19                            STEWART EDINGTON                                    5,552.10
19189        07/12/19                            SHUMIT PATEL                                        4,111.35
19190        07/12/19                            DANNA SESLER                                        2,701.77
19192        07/12/19                            DROPOFF dba JAGUAR COURIER SERVICE, INC.            2,446.14
19193        07/12/19                            METAGENICS, INC.                                    2,512.72
19194        07/12/19                            TRINITY OPERATIONS LP                               3,236.73
ACH          07/15/19                            PAIN PHARMACY GROUP, LLC                            4,605.00
ACH          07/15/19                            EXPONENT TECHNOLOGIES, INC.                         5,950.65
19196        07/15/19                            A BETTER ANSWER CALL CENTERS                          171.51
19197        07/15/19                            ABLE ELECTRIC SERVICE, INC.                          435.71
19198        07/15/19                            ACE FIRE EXTINGUISHER CO.                            124.49
19199        07/15/19                            ADP SCREENING & SELECTION SVCS                       659.29
19199        07/15/19                            ADP SCREENING & SELECTION SVCS                        23.87
19200        07/15/19                            ADT SECURITY SERVICES                                243.56
19200        07/15/19                            ADT SECURITY SERVICES                                 62.77
19201        07/15/19                            AIRSCAN TECHNOLOGIES, INC.                           210.00
           Case19-32841-hdh11
          Case  19-32841-hdh11Doc
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                                                                                   Page88ofof13
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19202         07/15/19                          AT&T MOBILITY                                           5.00
19202         07/15/19                          AT&T 105414                                           99.53
19202         07/15/19                          AT&T 105414                                          144.65
19202         07/15/19                          AT&T 105414                                          440.63
19203         07/15/19                          AT&T MOBILITY                                        183.55
19204         07/15/19                          BARRACUDA NETWORKS, INC.                             319.80
19205         07/15/19                          CGS ADMINISTRATORS, LLC                               85.46
19206         07/15/19                          CITY OF MCALESTER                                    115.04
19207         07/15/19                          DALLAS POLICE DPT ALARM PERMIT COMPLIANCE            100.00
19208         07/15/19                          DOBSON TECHNOLOGIES                                  135.00
19209         07/15/19                          ERX NETWORK                                          754.63
19210         07/15/19                          FDS, Inc.                                              22.41
19211         07/15/19                          FEDERAL EXPRESS CORP                                   72.50
19211         07/15/19                          FEDERAL EXPRESS CORP                                   36.65
19212         07/15/19                          FILE THIRTEEN                                          35.00
19214         07/15/19                          GREEN MOUNTAIN ENERGY                               2,778.41
19215         07/15/19                          HARLEN JOHNSON HEATING AIR CONDITIONING              757.75
19216         07/15/19                          HOWELL SERVICE COMPANIES, INC.                        70.00
19217         07/15/19                          L&T HEALTH SYSTEMS                                   107.56
19218         07/15/19                          MIKE KNOWLES                                         280.00
19219         07/15/19                          MOOD MEDIA                                           117.43
19220         07/15/19                          OMNISYS, LLC                                         123.41
19220D        07/15/19                          OMNISYS, LLC                                         123.51
19220D        07/15/19                          OMNISYS, LLC                                         122.21
19221         07/15/19                          PC CONNECTION SALES CORP                             286.65
19222         07/15/19                          PITNEY BOWES GLOBAL FINANCIAL SVCS LLC               189.89
19222D        07/15/19                          PITNEY BOWES GLOBAL FINANCIAL SVCS LLC               180.53
19223         07/15/19                          PROTEX SERVICE,INC                                   215.42
19223         07/15/19                          PROTEX SERVICE,INC                                   107.71
19224         07/15/19                          PUBLIC SERVICE COMPANY OF OKLAHOMA                   364.02
19225         07/15/19                          QUILL CORPORATION                                   1,471.03
19226         07/15/19                          RX MESSAGE ON HOLD                                    327.00
19227         07/15/19                          SCRIPTPRO USA, INC.                                 1,152.40
19227         07/15/19                          SCRIPTPRO USA, INC.                                 3,757.25
19228         07/15/19                          SHRED-IT USA                                          177.88
19228         07/15/19                          SHRED-IT USA                                          178.26
19228D        07/15/19                          SHRED-IT USA                                          312.82
19229         07/15/19                          SOFTWRITERS, INC.                                   2,198.16
19230         07/15/19                          TELEMANAGER TECHNOLOGIES, INC.                        207.00
19231         07/15/19                          TIME WARNER CABLE                                     252.51
19232         07/15/19                          TOG                                                   662.50
19233         07/15/19                          VERITY GROUP                                        3,783.14
19234         07/15/19                          WORLDWIDE EXPRESS                                   1,478.01
ACH           07/16/19                          AMERICA'S COURIER, INC.                             1,500.00
ACH           07/16/19                          AMERISOURCEBERGEN                                   1,881.10
WIRE          07/16/19                          AMERISOURCEBERGEN                                   4,442.76
WIRE          07/16/19                          AMERISOURCEBERGEN                                     555.43
WIRE          07/16/19                          AMERISOURCEBERGEN                                     323.40
WIRE          07/16/19                          AMERISOURCEBERGEN                                   9,215.93
WIRE          07/16/19                          AMERISOURCEBERGEN                                     276.60
WIRE          07/16/19                          AMERISOURCEBERGEN                                  12,845.51
391           07/16/19                          KIRTON MCCONKIE                                       416.00
19236         07/16/19                          BSN-JOBST, INC.                                     3,297.67
19236         07/16/19                          BSN-JOBST, INC.                                       584.74
19237         07/16/19                          KEYSOURCE ACQUISITIONS, LLC                         3,835.15
19238         07/16/19                          SHUMIT PATEL                                       10,641.93
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                          75,039.19
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                           3,979.41
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                          54,351.69
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                             745.22
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                          75,567.43
REV ACH       07/17/19                          MCKESSON PHARMACY SYSTEMS                             186.22
              07/17/19                                                                                 15.00
19239         07/18/19                          COOPER COMPLETE                                       465.80
19241         07/18/19                          INDEPENDENCE MEDICAL                                4,503.39
19241         07/18/19                          INDEPENDENCE MEDICAL                                  369.27
19243         07/18/19                          EMERSON ECOLOGICS, LLC                                608.72
19244         07/18/19                          MARTY GOODING                                       1,814.88
19245         07/18/19                          FREDERICK PORCHE                                      408.00
19246         07/19/19                          DROPOFF dba JAGUAR COURIER SERVICE, INC.            2,087.60
19247         07/19/19                          SPECTRUM PRINTING & PROMOTIONS                        692.26
19247         07/19/19                          SPECTRUM PRINTING & PROMOTIONS                        121.90
ACH           07/19/19                          AMEX                                                7,125.84
ACH           07/22/19                          EXPONENT TECHNOLOGIES, INC.                         6,664.04
ACH           07/22/19                          EXPONENT TECHNOLOGIES, INC.                            23.45
ACH           07/22/19                          EXPONENT TECHNOLOGIES, INC.                           258.17
99012         07/22/19                          Charity D. Powe                                     1,081.40
20000         07/23/19                          NITEL, INC.                                         1,486.90
20002         07/23/19                          PDX, INC.                                           1,785.46
20003         07/23/19                          ADP SCREENING & SELECTION SVCS                        105.61
           Case19-32841-hdh11
          Case  19-32841-hdh11Doc
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20004         07/23/19                          ADT SECURITY SERVICES                                 63.46
20005         07/23/19                          ATMOS ENERGY                                          52.67
20006         07/23/19                          ATMOS ENERGY                                         105.34
20007         07/23/19                          AT&T 5014                                            156.14
20008         07/23/19                          BARRACUDA NETWORKS, INC.                             159.90
20009         07/23/19                          CARENOW CORPORATE                                     45.00
20010         07/23/19                          CITY OF DALLAS                                        22.66
20011         07/23/19                          CITY OF DALLAS                                        89.92
20012         07/23/19                          COMM-CORE LLC                                        348.80
20013         07/23/19                          CONNECTION FINANCIAL SERVICES                       1,496.86
20014         07/23/19                          DISCOVERY BENEFITS, INC.                              135.00
20015         07/23/19                          DOBSON TECHNOLOGIES                                  137.03
20016         07/23/19                          ERX NETWORK                                          671.83
20017         07/23/19                          FDS, Inc.                                            106.25
20018         07/23/19                          GREEN MOUNTAIN ENERGY                                 18.09
20019         07/23/19                          MOOD MEDIA                                           117.43
20020         07/23/19                          SCRIPTPRO USA, INC.                                   745.84
20021         07/23/19                          SCRIPTPRO USA, INC.                                 3,332.03
20022         07/23/19                          SOFTWRITERS, INC.                                   2,286.81
20023         07/23/19                          TELEMANAGER TECHNOLOGIES, INC.                        395.85
20024         07/23/19                          TIME WARNER CABLE                                     221.00
20025         07/23/19                          TOG                                                   662.50
ACH           07/24/19                          MICROSOFT CORPORATION                                 878.10
online        07/24/19                          COMPTROLLER OF PUBLIC ACCOUNTS                      8,813.49
ONLINE        07/24/19                          COMPTROLLER OF PUBLIC ACCOUNTS                       581.35
ONLINE        07/24/19                          COMPTROLLER OF PUBLIC ACCOUNTS                       472.08
ONLINE        07/24/19                          COMPTROLLER OF PUBLIC ACCOUNTS                       211.70
ONLINE        07/24/19                          OKLAHOMA TAX COMMISSION                              317.07
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                          81,900.06
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                           4,506.54
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                       59,997.74
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                          276.53
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                       97,083.92
REV ACH       07/24/19                          MCKESSON PHARMACY SYSTEMS                          388.92
ACH           07/25/19                          EXPONENT TECHNOLOGIES, INC.                    115,493.06
ACH           07/25/19                          EXPONENT TECHNOLOGIES, INC.                        18,694.75
20026         07/26/19                          PHILLIP MORENO                                        600.00
20027         07/26/19                          SHUMIT PATEL                                        8,794.54
20028         07/26/19                          STEWART EDINGTON                                    5,552.10
20029         07/26/19                          SHUMIT PATEL                                        4,111.36
20030         07/26/19                          JASON BAILEY                                        5,070.79
20031         07/26/19                          MOISES GIMENEZ                                      5,000.00
ACH           07/29/19                          EXPONENT TECHNOLOGIES, INC.                         5,305.86
20032         07/29/19                          EMERSON ECOLOGICS, LLC                                726.60
20033         07/29/19                          TRAVELERS                                           2,974.54
20034         07/29/19                          TRAVELERS                                        1,820.50
20035         07/29/19                          AFCO                                            18,177.51
20036         07/30/19                          STEWART EDINGTON                                10,917.79
20040         07/30/19                          ASCENDANT SOLUTIONS                             20,000.00
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                      103,119.04
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                        3,360.52
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                          68,343.93
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                             583.25
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                      103,284.82
REV ACH       07/31/19                          MCKESSON PHARMACY SYSTEMS                          431.62
              07/31/19                          EXPONENT HR                                         2,483.78
ACH           08/02/19                          DEARBORN NATIONAL LIFE INSURANCE COMPANY            3,607.37
ACH           08/02/19                          PAIN PHARMACY GROUP, LLC                            4,605.00
20037         08/02/19                          RP TEXAS MGMT, LLC                                  7,270.11
20038         08/02/19                          5952 ROYAL LIMITED PARTNERSHIP                      6,282.38
20039         08/02/19                          POSEY COMPANY                                           0.00
ONLINE        08/05/19                          BLUE CROSS BLUE SHIELD OF TEXAS                    45,796.01
ONLINE        08/05/19                          BLUE CROSS BLUE SHIELD OF TEXAS                     2,100.44
20041         08/05/19                          ADP SCREENING & SELECTION SVCS                          0.00
20042         08/05/19                          DROPOFF dba JAGUAR COURIER SERVICE, INC.                0.00
20043         08/05/19                          FEDERAL HEATH SIGN CO LLC                               0.00
20044         08/05/19                          PUBLIC INDUSTRIAL/PROPERTY CO, INC.                 1,253.00
ACH           08/07/19                          EXPONENT HR                                        39,012.29
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                          99,686.00
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                           3,590.74
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                          50,886.20
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                             676.13
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                          73,960.57
REV ACH       08/07/19                          MCKESSON PHARMACY SYSTEMS                             742.99
20045         08/07/19                          MOISES GIMENEZ                                      6,665.00
20046         08/07/19                          S&L PHARMACY INC.                                   3,750.00
20047         08/07/19                          S&L PHARMACY INC.                                     447.88
20048         08/07/19                          DAWN MOSHIER                                        9,339.01
20049         08/07/19                          RANDY JOHNSON                                       1,000.00
ACH           08/08/19                          EXPONENT HR                                        56,259.00
           Case19-32841-hdh11
          Case  19-32841-hdh11Doc
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                                              01/31/20 Entered
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                                                                01/31/2013:20:51
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                                                                                   Page10
                                                                                        10ofof13
                                                                                               13


20050          08/08/19                         DALLAS CLEANING SERVICES                            2,130.00
ACH            08/09/19                         EXPONENT HR                                            10.66
20051          08/09/19                         SHUMIT PATEL                                        4,117.38
20052          08/09/19                         PRUDENTIAL OVERALL SUPPLY                           2,712.19
ACH            08/12/19                         EXPONENT HR                                            93.81
ACH            08/12/19                         EXPONENT HR                                         5,305.86
20053          08/12/19                         HEALTH CARE LOGISTICS, INC.                           179.66
20054          08/12/19                         HEALTH CARE LOGISTICS-CIRCLEVILLE                    135.52
20055          08/12/19                         FLAVORX INC.                                         274.00
ACH            08/13/19                         EXPONENT HR                                         9,116.67
ACH            08/14/19                         EXPONENT HR                                            21.32
ACH            08/14/19                         EXPONENT HR                                          21.32
ACH            08/14/19                         EXPONENT HR                                       4,391.46
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        86,583.19
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                         3,333.13
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        34,520.08
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                           193.16
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        64,639.56
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                           341.55
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        13,829.20
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                           508.38
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        16,221.76
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                           248.15
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                        36,355.82
REV ACH        08/14/19                         MCKESSON PHARMACY SYSTEMS                             68.75
20060          08/16/19                         EMERSON ECOLOGICS, LLC                               366.79
20061          08/20/19                         SAMUEL GRIFFITH                                     141.67
ACH            08/21/19                         EXPONENT HR                                     136,897.50
20062          08/21/19                         EMERSON ECOLOGICS, LLC                                713.36
20063          08/21/19                         HMPX                                                8,234.78
20064          08/21/19                         S&L PHARMACY INC.                                   3,948.62
ACH            08/22/19                         NEWPORT GROUP, INC.                                 2,718.50
ACH            08/22/19                         BENEFIT WALLET                                      1,566.09
20065          08/22/19                         ADT SECURITY SERVICES                                   0.00
20066          08/22/19                         ADT SECURITY SERVICES                                   0.00
20067          08/22/19                         ADT SECURITY SERVICES                                 63.46
20068          08/22/19                         AT&T 5014                                            336.08
20069          08/22/19                         AT&T 105414                                            0.00
20070          08/22/19                         AT&T 105414                                            0.00
20071          08/22/19                         AT&T 105414                                            0.00
20072          08/22/19                         AT&T MOBILITY                                        357.20
20073          08/22/19                         AT&T MOBILITY                                          0.00
20074          08/22/19                         ATMOS ENERGY                                         105.34
20075          08/22/19                         ATMOS ENERGY                                          52.67
20076          08/22/19                         BARRACUDA NETWORKS, INC.                             159.90
20077          08/22/19                         CARENOW CORPORATE                                    270.00
20078          08/22/19                         CITY OF DALLAS                                        93.88
20079          08/22/19                         CITY OF DALLAS                                        30.50
20080          08/22/19                         COMM-CORE LLC                                        344.26
20081          08/22/19                         DOBSON TECHNOLOGIES                                  135.00
20082          08/22/19                         FDS, Inc.                                            123.79
20083          08/22/19                         FDS, Inc.                                            107.75
20084          08/22/19                         FILE THIRTEEN                                         70.00
20085          08/22/19                         GRAND TETON BOTTLING COMPANY                          58.46
20086          08/22/19                         GREEN MOUNTAIN ENERGY                                 16.09
20087          08/22/19                         HARLEN JOHNSON HEATING AIR CONDITIONING              139.64
20088          08/22/19                         JOHNSON CONTROLS SECURITY SOLUTIONS                  415.45
20089          08/22/19                         NET-RX                                               580.00
20090          08/22/19                         OFFICE DEPOT CARD PLAN                               150.46
20091          08/22/19                         OFFICE DEPOT CARD PLAN                               417.70
20092          08/22/19                         OMNISYS, LLC                                         247.27
20093          08/22/19                         OMNISYS, LLC                                         242.56
20094          08/22/19                         PITNEY BOWES GLOBAL FINANCIAL SVCS LLC               210.53
20095          08/22/19                         POLLOCK                                              746.95
20096          08/22/19                         PROTEX SERVICE,INC                                   107.71
20097          08/22/19                         QUENCH USA, INC                                      189.45
20098          08/22/19                         RX MESSAGE ON HOLD                                   654.00
20099          08/22/19                         SECURITY SYSTEMS & ENGINEERING, INC.                  60.00
20100          08/22/19                         SHRED-IT USA                                         134.18
20101          08/22/19                         SHRED-IT USA                                         581.38
20102          08/22/19                         TIME WARNER CABLE                                    414.97
20103          08/22/19                         TIME WARNER CABLE                                    162.46
20104          08/22/19                         TOG                                                 662.50
20105          08/22/19                         A BETTER ANSWER CALL CENTERS                        368.40
20106          08/22/19                         OKLAHOMA TAX COMMISSION                             100.00
ACH            08/26/19                         STATE COMPTROLLER                                 8,948.90
ACH            08/26/19                         STATE COMPTROLLER                                   726.37
ACH            08/26/19                         STATE COMPTROLLER                                    52.00
ACH            08/26/19                         OKLAHOMA TAX COMMISSION                             371.52
WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                        68,337.42
           Case19-32841-hdh11
          Case  19-32841-hdh11Doc
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                                                                                   Page11
                                                                                        11ofof13
                                                                                               13


WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                           4,533.52
WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                       55,248.62
WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                          146.60
WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                       79,913.62
WIRE           08/26/19                         MCKESSON PHARMACY SYSTEMS                          390.86
20107          08/27/19                         ULINE                                            5,585.20
20108          08/27/19                         ULINE                                            2,335.34
20109          08/27/19                         ULINE                                                 473.67
20110          08/27/19                         SHUMIT PATEL                                        4,899.58
20111          08/27/19                         MEDISCA, INC.                                       2,338.89
20112          08/27/19                         MEDISCA, INC.                                       8,901.75
ACH            08/28/19                         MICROSOFT CORPORATION                              910.50
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                       66,319.43
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                        2,671.61
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                       60,803.65
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                           61.03
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                       91,709.75
REV ACH        08/28/19                         MCKESSON PHARMACY SYSTEMS                          688.54
20113          08/28/19                         CHRIS E. MANSCHRECK, D.O.                        1,100.00
20114          08/28/19                         RANDY JOHNSON                                    5,000.00
20115          08/28/19                         STEWART EDINGTON                                 3,500.00
 Case19-32841-hdh11
Case  19-32841-hdh11Doc
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                                    01/31/20 Entered
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                                                                              12ofof13
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                                                                                      14:50:09 Page
                                                                                                Page13
                                                                                                     13ofof13
                                                                                                            13

CONFIDENTIAL

Board of Directors                                                                                     DPI (DE) Payments
Troy D. Phillips                                           Chairman of the Board (approx. 17% owner)      $1,000 Director Fees
James C. Leslie                                            Board Member (approx. 8% owner)              $45,000 Interim CEO Salary
Anthony J. LeVecchio                                       Board Member                                     $500 Director Fees
William J. Cureton                                         Board Member                                   $1,000 Director Fees
Joshua K. Womack                                           Board Member
Joseph J. Flynn                                            Board Member
Stewart I. Edington                                        Board Member
Shumitbhai C. Patel                                        Board Member

Leadership Team                                                                                        DHI Payments                  DHI Payments
Stewart I. Edington                                        President & CEO                               139757 Salary to Date         120513 Expense + Trade Reimbursement
Shumitbhai C. Patel                                        Sr. Director of Finance & Administration      122931 Salary to Date         227399 Expense + Trade Reimbursement
